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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

   

MURRAY AND DOSTER, LLC,
Plaintiff.

_v_

KDG, ED DOMBROWSKI, ET AL.,

Defendants.

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DEFAULT

 

Upon the Motion and Affidavit of the plaintiff, Murray and
DOSter, LLC, filed July 15,r 2005lr DEFAULT IS HEREBY ENTERED against
the named defendant, Ed Dombrowski, pursuant to FRCvP 55(a).

In accordance to FRCvP 4, service of process was executed
against the defendant.

For good cause shown, the court may set aside this entry for
default, pursuant to Rule 55(c).

Entered this 19th day of July, 2005.

THOMAS M. GOULD,
Clerk of Court

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Deputy Cler

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:04-CV-02992 Was distributed by faX, mail, or direct printing on
July ]9, 2005 to the parties listed.

 

 

Jefferson D. Gilder

GILDER HOWELL & ASSOCIATES, P.A.
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Honorable J. Breen
US DISTRICT COURT

